           Case 1:22-cr-00232-JCC-BAM Document 32 Filed 11/22/22 Page 1 of 6


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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:22-CR-00232 JLT-SKO
12                               Plaintiff,
                                                       STIPULATION CONTINUING STATUS
13                         v.                          CONFERENCE AND REGARDING
                                                       EXCLUDABLE TIME PERIODS UNDER SPEEDY
14   JULIO CESAR RECINOS-SORTO,                        TRIAL ACT; “COMPLEX CASE” DESIGNATION;
                                                       FINDINGS AND ORDER
15          Defendant.
                                                       DATE: November 30, 2022
16                                                     TIME: 1:00 p.m.
                                                       COURT: Hon. Sheila K. Oberto
17

18          This case is set for a status conference on November 30, 2022 in front of the Honorble Sheila K.
19 Oberto, U.S. Magistrate Court Judge. The parties stipulate and request to continue the status conference

20 to March 1, 2023 at 1:00 p.m., and to a finding that the case is a “complex case” pursuant to 18 U.S.C. §
21 3161(h)(7)(B)(ii).

22          On May 26, 2021, the Court issued General Order 631, which provided for a reopening of the
23 courthouse in June 2021, recognized the continued public health emergency, continued to authorize

24 video or teleconference court appearances in various cases, and noted the court’s continued ability under

25 the Coronavirus Aid, Relief, and Economic Security (CARES) Act (the “Act”) to continue trials and

26 other matters, excluding time under the Act. On June 27, 2022, the Court issued General Order 652,
27 which “authorized the use of videoconference and teleconference technology in certain criminal

28 proceedings under the in the Eastern District of California.” This and previous General Orders highlight

      STIPULATION REGARDING SPEEDY TRIAL ACT TIME       1
30    EXCLUSION AND COMPLEX CASE DESIGNATION
            Case 1:22-cr-00232-JCC-BAM Document 32 Filed 11/22/22 Page 2 of 6


 1 and were entered to address public health concerns related to COVID-19. Pursuant to F.R.Cr.P. 5.1(c)

 2 and (d), a preliminary hearing must be held “no later than 14 days after initial appearance if the

 3 defendant is in custody,” unless the defendant consents and there is a “showing of good cause”, or if the

 4 defendant does not consent and there is a “showing that extraordinary circumstances exist and justice

 5 requires the delay.” Here, the defendant consents and there is good cause.

 6           Although the General Orders address the district-wide health concern, the Supreme Court has

 7 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

 8 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

 9 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no
10 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at

11 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

12 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

13 or in writing”).

14           Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

15 and inexcusable—General Orders 611, 612, 617, 631 and 652 require specific supplementation. Ends-

16 of-justice continuances are excludable only if “the judge granted such continuance on the basis of his

17 findings that the ends of justice served by taking such action outweigh the best interest of the public and

18 the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable

19 unless “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that

20 the ends of justice served by the granting of such continuance outweigh the best interests of the public
21 and the defendant in a speedy trial.” Id.

22           The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

23 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

24 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

25 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

26 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court
27 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

28 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

       STIPULATION REGARDING SPEEDY TRIAL ACT TIME         2
30     EXCLUSION AND COMPLEX CASE DESIGNATION
            Case 1:22-cr-00232-JCC-BAM Document 32 Filed 11/22/22 Page 3 of 6


 1 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

 2 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

 3          In light of the societal context created by the foregoing, this Court should consider the following

 4 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

 5 justice exception, § 3161(h)(7) (Local Code T4). 1 If continued, this Court should designate a new date

 6 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

 7 pretrial continuance must be “specifically limited in time”).

 8          Additionally, 18 U.S.C. § 3161(h)(7)(B)(ii) provides for exclusion of time where “the case is so

 9 unusual or so complex, due to the number of defendants, the nature of the prosecution, or the existence
10 of novel questions of fact or law, that it is unreasonable to expect adequate preparation for pretrial

11 proceedings or for the trial itself within the time limits established by this section.”

12                                                STIPULATION

13          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

14 through defendant’s counsel of record, hereby stipulate as follows:

15          1.      Defense counsel needs additional time to review discovery, ascertain whether further

16 investigation is needed and pursue it if so, and to engage in discussions with the government regarding

17 any potential resolution of the case, motion schedule if warranted, or trial setting. Additionally, the case

18 is proceeding through the capital review process, and conclusion of that process is necessary in assessing

19 next steps for the case.

20          2.      By this stipulation, defendant now move to continue the November 30, 2022 status

21 conference to March 1, 2023 and to exclude time from November 30, 2022 to March 1, 2023 under

22 Local Code T4.

23          3.      The parties agree and stipulate, and request that the Court find the following:

24                  a)      The government has represented that the discovery associated with this case

25          includes investigative reports, videos, photos, and related documents in electronic form.

26          Discovery is voluminous, and spans multiple investigations in part due to the case involving

27
            1
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
     STIPULATION REGARDING SPEEDY TRIAL ACT TIME        3
30     EXCLUSION AND COMPLEX CASE DESIGNATION
          Case 1:22-cr-00232-JCC-BAM Document 32 Filed 11/22/22 Page 4 of 6


 1        racketeering charges requiring proof of an “enterprise,” here MS-13. A large amount of

 2        discovery has been either produced directly to counsel and/or made available for inspection and

 3        copying, and additional discovery is being reviewed, processed and prepared for dissemination,

 4        and at defense request, could be viewed at the US Attorney’s Office if requested prior to

 5        dissemination.

 6                b)       Complex Case Designation: Additionally, the parties stipulate and agree that the

 7        case should be designated a “complex case” as it so complex, due to the nature of the prosecution

 8        that it is unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself

 9        within the time limits established by 18 U.S.C. § 3161. The case involves charges pursuant to 18

10        U.S.C. § 1959, Murder in Aid of Racketeering, the MS-13 enterprise and voluminous discovery

11        from which evidence of the existence of the enterprise is established, thousands of pages of

12        discovery and extensive digital discovery spanning events that occurred overy many years.

13                c)       The government does not object to the continuance.

14                d)       In addition to the public health concerns cited by the General Orders and

15        declarations of judicial emergency, and presented by the evolving COVID-19 pandemic, an

16        ends-of-justice delay is particularly apt in this case because:

17                     •   Defendant’s ability to prepare for trial or a plea has been inhibited by the public

18                         health emergency;

19
                       •   Defendant needs additional time to review discovery, and conduct additional
20
                           investigation; and
21

22                e)       Based on the above-stated findings, the ends of justice served by continuing the

23        case as requested outweigh the interest of the public and the defendant in a trial within the

24        original date prescribed by the Speedy Trial Act.

25                f)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

26        et seq., within which trial must commence, the time period of November 30, 2022 to March 1

27        2023, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(ii), and (iv)

28        [Local Code T4] because it results from a continuance granted by the Court at defendant’s

     STIPULATION REGARDING SPEEDY TRIAL ACT TIME         4
30   EXCLUSION AND COMPLEX CASE DESIGNATION
           Case 1:22-cr-00232-JCC-BAM Document 32 Filed 11/22/22 Page 5 of 6


 1          request and designation of the case as a “complex case” on the basis of the Court’s finding that

 2          the ends of justice served by taking such action outweigh the best interest of the public and the

 3          defendant in a speedy trial.

 4          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 5 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 6 must commence.

 7          IT IS SO STIPULATED.

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 9
     Dated: November 21, 2022                                PHILLIP A. TALBERT
10                                                           United States Attorney
11
                                                             /s/ KIMBERLY A. SANCHEZ
12                                                           KIMBERLY A. SANCHEZ
                                                             Assistant United States Attorney
13

14
     Dated: November 21, 2022                             /s/ MARK GOLDROSEN____
15                                                        Attorney for Defendant
16
     Dated: November 21, 2022                             /s/ MIKE McKNEELY____
17                                                        Attorney for Defendant

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      STIPULATION REGARDING SPEEDY TRIAL ACT TIME        5
30    EXCLUSION AND COMPLEX CASE DESIGNATION
            Case 1:22-cr-00232-JCC-BAM Document 32 Filed 11/22/22 Page 6 of 6


 1                                          FINDINGS AND ORDER

 2          Based on the facts presented in the parties’ stipulation, and good cause shown, the November 30,

 3 2022 status conference shall be continued until March 1, 2023 and time shall be excluded from

 4 November 30, 2022 to March 1, 2023 under Local Code T4. The Court finds that exclusion of time is in

 5 the interests of justice due to the need for counsel preparation, discussions regarding potential resolution,

 6 the extensive nature of discovery in the case.

 7          Additionally, the Court will designate this as a “complex case,” due to the nature of the

 8 prosecution because it is unreasonable to expect adequate preparation for pretrial proceedings or for the

 9 trial itself within the time limits established by 18 U.S.C. § 3161. The case involves charges pursuant to
10 18 U.S.C. § 1959, Murder in Aid of Racketeering, the MS-13 enterprise and voluminous discovery from

11 which evidence of the existence of the enterprise is established, thousands of pages of discovery and

12 extensive digital discovery spanning events that occurred overy many years.

13          Based on the above-stated findings, the ends of justice served by continuing the case as requested

14 outweigh the interest of the public and the defendant in a trial within the original date prescribed by the

15 Speedy Trial Act.

16
     IT IS SO ORDERED.
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18      Dated:     November 22, 2022                          /s/
                                                       UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING SPEEDY TRIAL ACT TIME        6
30    EXCLUSION AND COMPLEX CASE DESIGNATION
